Case 1:21-cr-00406-RM Document 29 Filed 02/08/22 USDC Colorado Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              JUDGE RAYMOND P. MOORE

Courtroom Deputy: Cathy Pearson                               Date: February 8, 2022
Court Reporter: Tammy Hoffschildt                             Interpreter: Cathy Bahr
Probation: n/a

CASE NO. 21-cr-00406-RM

Parties                                                       Counsel

UNITED STATES OF AMERICA,                                     Valeria Spencer

      Plaintiff,

v.

1. MIGUEL QUINTANILLA-DOMINGUEZ,                              Jared Westbroek

      Defendant.


                               COURTROOM MINUTES

MOTION HEARING – Motion to Dismiss the Indictment (Doc. 18)
COURT IN SESSION:    9:01 a.m.

Appearances of counsel. Defendant is present and in custody.

Interpreter is sworn.

Preliminary remarks made by the Court.

Discussion held regarding continuing the trial date.

ORDERED: The three-day jury trial set for February 22, 2022, and the Trial Preparation
         Conference set for February 11, 2022, are VACATED and will be reset by
         separate order.

The Court directs counsel to contact his judicial assistant by email at
Deanne_Bader@cod.uscourts.gov on February 9, 2022, to obtain a new trial date.
Case 1:21-cr-00406-RM Document 29 Filed 02/08/22 USDC Colorado Page 2 of 2




9:12 a.m.    Defendant’s witness, Shulamith Deborah Kang, is sworn and examined by
             Mr. Westbroek.
             Witness is offered and accepted as an historian.

10:11 a.m.   Cross-examination of Shulamith Deborah Kang by Ms. Spencer.

10:35 a.m.   Redirect examination of Shulamith Deborah Kang by Mr. Westbroek.

10:42 a.m.   Witness is excused.

Court in recess: 10:42 a.m.
Court in session: 10:52 a.m.

Defendant rests. Government rests.

Argument given and discussion held regarding the motion.

The Court states findings.

ORDERED: Miguel Quintanilla-Dominguez’s Motion to Dismiss the Indictment (Doc. 18)
         is DENIED as stated on the record.

ORDERED: Defendant remanded to the custody of the U.S. Marshals Service.

COURT IN RECESS:             12:25 p.m.
Total in court time:         3:14
Hearing concluded
